                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


iii- interactive LLC d/b/a Division-D,                )
                                                      )
               Plaintiff,                             )
                                                      )       Case No. 2:19-cv-04131-MDH
                                                      )
v.                                                    )
                                                      )
Hi-Media España Publicidad Online SL                  )
                                                      )
               Defendant.                             )


                    ORDER GRANTING DEFAULT JUDGMENT
                AGAINST HI-MEDIA ESPAÑA PUBLICIDAD ONLINE SL

       Before the Court is Plaintiff iii – interactive LLC d/b/a Division-D’s Motion for Default

Judgment. (Doc. 11). A review of the record reflects that Plaintiff filed their Complaint against

Defendant on July 1, 2019, and Defendant was served with a summons and copy of the Complaint

on February 14, 2020. (Doc. 8). In its Complaint, Plaintiff prayed for $106,044.94, along with

post-judgment interest at the rate of 18% per annum. (Doc. 1). Defendant failed to answer or

otherwise defend against Plaintiff’s Complaint, and Defendant’s default was entered on July 22,

2020. (Doc. 10). The Court finds that Plaintiff’s claim is for a sum certain; that Defendant has been

defaulted for not appearing; and Defendant, as a sociedad limitada organized and existing in

accordance with the laws of Spain, is neither a minor nor an incompetent person.

       WHEREFORE, it is hereby ORDERED that Plaintiff’s Motion for Default Judgment is

GRANTED. Judgment is entered against Defendant and in favor of Plaintiff on its Complaint.




         Case 2:19-cv-04131-MDH Document 12 Filed 08/18/20 Page 1 of 2
IT IS SO ORDERED.

Dated: August 18, 2020                 /s/ Douglas Harpool ______________
                                      DOUGLAS HARPOOL
                                      UNITED STATES DISTRICT JUDGE




        Case 2:19-cv-04131-MDH Document 12 Filed 08/18/20 Page 2 of 2
